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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION
          FMIO, INC. a Michigan corporation and
          RICHARD A. GARST,
                      Plaintiffs,                             File No: 2:09-cv-12561
          v

          TOWNSHIP OF SUMMERFIELD MICHIGAN, a Hon. BERNARD A. FRIEDMAN
          Michigan municipal corporation, KEVIN R. IOTT in
          his official and individual capacities, TAMMY
          BLEASKA in her official and individual capacities,
          JOAN WIEDERHOLD, in her official and individual
          capacities, DALE WAGENKNECHT in his official
          and individual capacities JAMES V. SEEGER, in his
          official and individual capacities, AMY REITER, in
          her official and individual capacities, RICHARD
          KORALESKI in his official and individual capacities,
          DAVID GRUDE, in his official and individual
          capacities, JOSEPH STRANGER in his official and
          individual capacities, LINDA DIESING in her official
          and individual capacities MICHAEL STRAHAN in his
          official and individual capacities, jointly and
          severally,
                         Defendants
          Cindy Rhodes Victor (P33613)
          The Victor Firm, PLLC
          Attorney for Plaintiffs
          35801 Mound Road
          Sterling Heights, MI 48310
          Telephone: 586-274-9600

          Frederick Lucas (P29074)
          R. Scott A. Baker (P62511)
          Lucas & Baker
          Attorney for Defendants
          7577 US 12, Ste A
          Onsted, MI 49265
          Telephone: 517-467-4000
          Fax: 517-467-4044

                        MOTION TO COMPEL ANSWERS TO INTERROGATORIES

                   Defendants, Township of Summerfield Michigan, Kevin R. Iott, Tammy Bleaska,


                                                                                       7577 US Highway 12, Suite A
                                                                                           Onsted, Michigan 49265
Attorneys at Law                                                                          Telephone: 517.467.4000
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          Joan Wiederhold, Dale Wagenknecht, James V. Seeger, Amy Reiter, Richard

          Koraleski, David Grude, Joseph Stranger, Linda Diesing, Michael Strahan moves this

          court for an order compel plaintiffs’ response to interrogatories and award sanctions

          pursuant to FRCP 37 and states in support of this motion:

                   1.    Defendants served interrogatories on plaintiffs on October 19, 2009. Proof

                         of service of the interrogatories is attached as Exhibit A.

                   2.    As of the date of this motion, plaintiffs have failed to make any answers to

                         these interrogatories.

                   3.    Plaintiffs’ refusal to answer is without justification, and defendants are

                         entitled to costs, expenses, and attorney fees in accordance with FRCP

                         37(a)(3)(A).

                   WHEREFORE defendants request the court to enter an order compelling

          plaintiffs to answer defendants’ interrogatories and to award defendants costs,

          expenses, and attorney fees for have to bring this motion.

          Dated: November 24, 2009                       Lucas & Baker
                                                         s/Frederick Lucas
                                                         Frederick Lucas (P29074)
                                                         Lucas & Baker
                                                         7577 US Highway 12, Suite A
                                                         Onsted, MI 49265
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                                  DEFENDANT’S BRIEF IN SUPPORT OF
                                 MOTION TO EXCLUDE EXPERT WITNESS

          ISSUE PRESENTED

                   I.    Whether the court should enter an order compelling plaintiffs’ to answer
                         defendants’ interrogatories?

                         Plaintiffs answer:              No
                         Defendants answer:              Yes

                   II.   Defendants served its first set of interrogatories to plaintiffs and more than
                         30 days has lapsed.

          STATEMENT OF MOST CONTROLLING AUTHORITIES

                   Fed R. Civ. P. LR 7.1(a) and FRCP 37

                   WHEREFORE defendants request the court to enter an order compelling

          plaintiffs to answer defendants’ interrogatories and to award defendants costs,

          expenses, and attorney fees for have to bring this motion.

          Dated: November 24, 2009                       Lucas Law, PC
                                                         s/Frederick Lucas
                                                         Frederick Lucas (P29074)
                                                         Lucas & Baker
                                                         7577 US Highway 12, Suite A
                                                         Onsted, MI 49265
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                                                         Secondary E-mail: donna@lucaslawpc.com


                                            NOTICE OF HEARING

                   PLEASE TAKE NOTICE that the motion will be heard at a date and time to be

          set by the Court.

          Dated: November 24, 2009                       Lucas & Baker
                                                         s/Frederick Lucas
                                                         Frederick Lucas (P29074)
                                                         7577 US Highway 12, Suite A.
                                                         Onsted, MI 49265


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                                                         517-467-4000
                                                         Primary E-mail: lucas@lucaslawpc.com
                                                         Secondary E-mail: donna@lucaslawpc.com


                                          CERTIFICATE OF SERVICE

                   I hereby certify that on November 25, 2009, I electronically filed the foregoing

          papers with the Clerk of the Court using the ECF system which will send notification of

          such filing to the following: Cindy Victor.

                                                         s/Frederick Lucas
                                                         Frederick Lucas (P29074)
                                                         Lucas & Baker
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                              EXHIBIT A




                                                                             7577 US Highway 12, Suite A
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                                  UNITED STATES DISTRICT COURT
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          FMIO, INC. a Michigan corporation and
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          Attorney for Defendants
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                                       CERTIFICATE OF SERVICE

          Donna K. Moyer certifies that she served papers as follows


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                   DOCUMENT SERVED:     Defendants’ first set of interrogatories to plaintiffs
                   METHOD OF SERVICE:   First Class Mail
                        DATE SERVED:    October 19, 2009
                    PERSON(S) SERVED:   Cindy Victor
                                        35801 Mound Road
                                        Sterling Heights, MI 48310



                                                            ______________________________
                                                            Donna K. Moyer




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